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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
United States of America,                                    CASE NUMBER

                                                                      CV 16-8697 MWF (SSx)
                                              PLAINTIFF(S)
                          v.
UnitedHealth Group Inc., et al.                               RESPONSE BY THE COURT TO NOTICE TO
                                                                   FILER OF DEFICIENCIES IN
                                           DEFENDANT(S).       ELECTRONICALLY FILED DOCUMENTS


In accordance with the Notice to Filer Of Deficiencies In Electronically Filed Documents

REGARDING:


        09/28/2018                     290                      Application to Appear Pro Hac Vice
       Date Filed                      Doc. No.                 Title of Doc.


IT IS HEREBY ORDERED:

       G The document is accepted as filed
       ✔ The document is stricken and counsel is ordered to file an amended or
       G
         corrected document by October 12, 2018.                               .
       G The hearing date has been rescheduled to                                            at
       G Other




                                                             Clerk, U.S. District Court




Dated: October 2, 2018                                       By:    Rita Sanchez/sjm
                                                                   Deputy Clerk


cc: Assigned District Judge and/or Magistrate Judge



              RESPONSE BY THE COURT TO NOTICE TO FILER OF DEFICIENCIES IN ELECTRONICALLY FILED DOCUMENTS
G-112B (01/07)
